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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  -----------------------------X
  NATHAN KATZ,
  on behalf of himself and all
  others similarly situated,
                                                 MEMORANDUM AND ORDER
              Plaintiff,

         - against -                             Civil Action No.
                                                 CV-05-2783 (DGT)
  ASSET ACCEPTANCE, LLC, GOLDMAN
  & WARSHAW, P.C., and JEFFREY
  M. PARRELLA,

              Defendants.

  -----------------------------X


 Trager, J:

       Plaintiff Nathan Katz brings this action on behalf of

 himself and all others similarly situated against Asset

 Acceptance, LLC ("Asset Acceptance"), Goldman & Warshaw, P.C.

 ("Goldman & Warshaw") and Jeffrey M. Parrella, Esq. (collectively

 "defendants") under the Fair Debt Collection Practices Act

 ("FDCPA" or "Act"), 15 U.S.C. § 1692.         Katz claims that Goldman &

 Warshaw, a law firm specializing in consumer debt collection,

 intentionally filed a collection suit against him in an improper

 venue in violation of 15 U.S.C. § 1692i(a).          Goldman & Warshaw

 claim that this was the result of a bona fide error and now move

 for summary judgment under Fed. R. Civ. P. 56 and for costs

 pursuant to Fed. R. Civ. P. 68.
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                                  Background



        In or about November 2003, Asset Acceptance retained Goldman

 & Warshaw to provide legal services in connection with the

 collection of credit card debt owed by Katz.          Affidavit of

 Jeffrey M. Parrella ("Parrella Aff.") ¶ 3.          Although Katz resides

 in Kings County, a Goldman & Warshaw paralegal erroneously

 entered the numerical code "198" in the venue field of Katz's

 file signifying New York County rather than "202" signifying

 Kings County.     Parrella Aff. ¶ 10; Affidavit of Suzanne Jones

 ("Jones Aff.") ¶ 10.      From December 2003 to December 2004,

 Goldman & Warshaw mailed five letters and made six telephone

 calls to Katz in an attempt to collect his debt.           Parrella Aff.

 ¶ 4.    In March 2005, Goldman & Warshaw filed a collection suit

 (the "underlying suit") against Katz on behalf of Asset

 Acceptance in the Civil Court of the City of New York, County of

 New York.    Id. ¶ 5.    Defendants concede that New York County is

 an improper venue for the underlying suit and that the suit

 should have been filed in Kings County.         Id. ¶ 10.

        On June 9, 2005, Katz filed an action under the FDCPA

 claiming that defendants used "false representations and

 deceptive means to attempt to collect a debt in violation of 15

 U.S.C. § 1692e(10)" and that defendants brought "an action in an

 improper judicial district in violation of 15 U.S.C. § 1692i."


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 Plaintiff's Complaint ("Pl.'s Compl.") ¶ 12.          Katz filed suit

 against defendant Asset Acceptance under the theory that it is

 vicariously liable for the actions of its agent, Goldman &

 Warshaw.    Plaintiff's Mem. in Opp'n to Def.'s Mot. for Summ. J.

 ("Pl.'s Opp'n.") at 8.       Additionally, Katz filed this action on

 behalf of a purported class consisting of all consumers subject

 to an improperly filed complaint by Goldman & Warshaw.1            Pl.'s

 Compl. ¶ 13.     Katz seeks injunctive and declaratory relief as

 well as statutory damages and costs.         Id. at 5.

       In its defense, Goldman & Warshaw claims the error was

 unintentional and that it occurred notwithstanding the detailed

 policies and procedures it adopted to avoid venue errors.

 Goldman & Warshaw's and Jeffrey M. Parrella's Reply in Supp. of

 Mot. for Summ. J. and Mot. for Costs ("Def.'s Reply") at 2-3;

 Parrella Aff. ¶ 10 (stating "I had no intention of having the

 Underlying Suit filed in a county other than where Katz, the

 defendant-debtor, resided.").        Goldman & Warshaw (1) publishes

 and circulates policies and procedures to paralegals and

 attorneys stating that suits are to be filed in the venue of

 residence, Certification of Luciana Lalande ("Lalande Cert.")

 Exs. E, F; Affidavit of Ann Marie Kielty ("Kielty Aff.") ¶¶ 3, 7;

 Jones Aff. ¶¶ 3, 7; Parrella Aff. ¶ 8; (2) provides FDCPA



       1
       Although this suit is captioned as a class action, Katz has
 not moved for class certification.

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 compliance training, which includes specific instructions on the

 proper filing of collection suits in light of the FDCPA's venue

 requirements, Kietly Aff. ¶¶ 3-4, 10, Jones Aff. ¶¶ 3-4, Parrella

 ¶¶ 6-7; and (3) requires attorneys and paralegals to review flow

 charts explaining proper venue procedures, Lalande Cert. Ex. G,

 Kielty Aff. ¶ 7, Jones Aff. ¶ 7, Parrella ¶ 8.           Subsequent to

 Katz's suit, Goldman & Warshaw reviewed approximately 1700 cases

 and found that no other cases were filed in an improper venue.

 Parrella Aff. ¶ 11.

       Goldman & Warshaw submitted a settlement offer pursuant to

 Rule 68 of the Fed. R. Civ. P. consisting of $1,000.00 plus

 reasonable attorney fees and costs.         Lalande Cert. Ex. C.     Katz

 did not accept this offer.       Def. Goldman & Warshaw and Parrella

 Mem. in Supp. of Mot. for Summ. J. and Mot. for Costs ("Def.'s

 Mem.") at 1.     Furthermore, defendants assert that Katz has

 neither responded to discovery requests nor sought any meaningful

 discovery from Goldman & Warshaw.         Id. at 3.

       Defendants claim they are not liable under the FDCPA's bona

 fide error defense, 15 U.S.C. § 1692k(c), and move for summary

 judgment under Fed. R. Civ. P. 56 and costs in accordance with

 Fed. R. Civ. P. 68.2



       2
        Although the motions were filed by defendants Goldman &
 Warshaw and Parrella, defendant Asset Acceptance later joined the
 motions. Asset Acceptance's letters to the Court dated Feb. 17,
 2006 and April 6, 2006.

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                                  Discussion



                                      (1)

                                  The FDCPA

       "Congress' general intent in enacting the FDCPA was to

 protect consumers from a host of unfair, harassing, and deceptive

 debt collection practices without imposing unnecessary

 restrictions on ethical debt collectors."          Riveria v. MAB

 Collections, Inc., 682 F. Supp. 174, 176 (W.D.N.Y. 1988).            The

 Act requires that any debt collector who sues a consumer shall do

 so only in the judicial district "(A) in which such consumer

 signed the contract sued upon; or (B) in which such consumer

 resides at the commencement of the action."          15 U.S.C.

 § 1692i(a)(2).     However, the Act also provides that

             [a] debt collector may not be held liable in
             any action brought under this subchapter if
             the debt collector shows by a preponderance
             of evidence that the violation was not
             intentional and resulted from a bona fide
             error notwithstanding the maintenance of
             procedures reasonably adapted to avoid any
             such error.

 15 U.S.C. § 1692k(c).      To be eligible for this "bona fide error"

 defense, a debt collector need not demonstrate that its

 procedures for avoiding violations are "fool proof," but rather,

 must only show that its procedures constitute a "reasonable

 precaution."     Archaempongtieku v. Allied Interstate Inc., No. 04-


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 CV-8397, 2005 WL 2036153, at *6 (S.D.N.Y. Aug. 24, 2005) (citing

 Kort v. Diversified Collection Serv. Inc., 394 F.3d 530, 539 (7th

 Cir. 2005)).

       It is undisputed that Goldman & Warshaw filed suit against

 Katz in the incorrect venue of New York County instead of his

 county of residence, Kings County.         Katz, however, alleges that

 Goldman & Warshaw cannot avail itself of the bona fide error

 defense because its erroneous selection of venue was intentional

 and it had no safeguards in place to avoid such errors.

       Goldman & Warshaw maintains that, at all times, it intended

 to file collection suits, such as the underlying suit, in the

 county in which the debtor resides.         First, Suzanne Jones, the

 paralegal responsible for entering Katz's data into Goldman &

 Warshaw's electronic filing system, asserts that she mistakenly

 entered the incorrect venue code in Katz's file as the result of

 an "unintentional clerical error."         Jones Aff. ¶ 10.     Second,

 Anne Marie Kielty, a paralegal in Goldman & Warshaw's litigation

 department, attests that she did not catch the mistake in venue

 when preparing the draft complaint for the underlying suit and,

 thus, unintentionally designated New York County as the venue.

 Kielty Aff. ¶¶ 8, 11.      Finally, Jeffrey Parrella, an attorney

 with Goldman & Warshaw, states that he failed to realize the

 error in venue and never intended the underlying suit to be filed

 in a venue other than Katz's county of residence.           Parrella Aff.


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 ¶¶ 9, 10.

       Indeed, it is hard to imagine what interest of defendants

 would be served by filing the underlying suit in New York rather

 than Kings County.      The New York County Civil Court is located at

 111 Centre Street, New York, NY 10013 and the Kings County Civil

 Court at 141 Livingston Street, Brooklyn, NY 11201; the two are

 approximately 2.6 miles apart.3        As such, it is unlikely that the

 filing of the underlying suit in New York County was the result

 of a strategic attempt to gain an unfair advantage over Katz or

 to harass him.

       Additionally, as discussed earlier, Goldman & Warshaw offers

 detailed evidence of firm policies and procedures that it has in

 place to avoid having collection suits filed in venues other than

 the venue where the debtor resides.         Courts have granted summary

 judgment based on § 1692k(c) when defendants have come forward

 with evidence similar to that adduced by Goldman & Warshaw.             See

 Howe v. Reader's Digest Association, 686 F. Supp. 461, 467

 (S.D.N.Y. 1988) (granting summary judgment under bona fide error

 defense where affidavits demonstrated extensive systems and

 procedures maintained by defendant for avoiding errors); Smith v.

 Transworld Systems, Inc., 953 F.2d 1025, 1031 (6th Cir. 1992)


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         Ironically, according to an online transit guide, via
 public transportation there is a shorter commute from Katz's
 residence in Williamsburg, Brooklyn to the New York County Civil
 Court than to the Kings County Civil Court.
 http://www.hopstop.com/?city=newyork

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 (affirming grant of summary judgment where erroneous mailing of

 collection letter was result of bona fide error supported by

 employee affidavits explaining inadvertent error and company

 policy of distributing five-page collection procedure manual);

 Beattie v. D.M. Collections, Inc., 754 F. Supp. 383, 389 (D. Del.

 1991) (granting summary judgment under bona fide error defense

 where employees periodically attended training seminars in FDCPA

 compliance and employer provided FDCPA compliance manuals,

 collection policy memorandum and cards dictating the verbiage

 employees were required to use when contacting debtors by

 telephone).     Although none of these cases specifically involved

 the filing of a collection suit in an improper venue, they are,

 nonetheless, persuasive.

       Goldman & Warshaw's erroneous filing of the underlying suit

 in New York county, rather than Kings County, was the result of

 an unintentional bona fide error as contemplated by

 § 1692k(c).     Katz has failed to rebut defendant's affidavits with

 anything but conclusory allegations that Goldman & Warshaw's

 actions were intentional.       Pl. Opp'n at 4-7.     The absence of

 additional occurrences, cf. Johnson v. Equifax Risk Mgmt. Servs.,

 No. 00-CV-7836, 2004 WL 540459, at *9 (S.D.N.Y. March 17, 2004)

 (denying summary judgment on bona fide error defense and noting

 that magistrate judge "had rejected [defendant's] bona fide error

 defense on the basis that its procedures were clearly inadequate


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 given numerous errors and violations of the FDCPA), the

 geographical proximity of the two venues, the procedures for

 avoiding venue errors and the sworn statements from Goldman &

 Warshaw employees all show that the violation was an

 unintentional bona fide error that occurred notwithstanding

 reasonable procedures that were put in place to avoid such

 errors.    Accordingly, defendant's motion for summary judgment is

 granted.

       Finally, it should be noted that plaintiff's counter-

 arguments are meritless.       First, plaintiff asserts that the bona

 fide error defense is inapplicable because "[t]his error could

 have easily been detected had anyone from defendant's office

 actually read the papers with an eye toward compliance with the

 specific venue requirements of the FDCPA."          Pl's Opp'n at 7.

 "Any typographical error, however, could be detected by close

 reading, yet the Congress chose to provide debt collectors with a

 defense against liability for such errors so long as reasonable

 procedures are adapted to prevent them."          Hernandez v. The

 Affiliated Group, Inc., No. 04-CV-4467, 2006 WL 83474 (E.D.N.Y.

 Jan. 12, 2006).     Second, plaintiff argues that because it was an

 attorney's obligation to select venue, Goldman & Warshaw cannot

 be absolved of liability because they have chosen to "shift

 [that] professional responsibility to a data entry person."             Pl's

 Opp'n at 8.     There is nothing in the language of § 1692k(c) to


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  support that position.

                                            (2)

                  Defendants' Request for Costs under Rule 68

        On August 5, 2005, pursuant to Fed. R. Civ. P. 68 ("Rule

  68"), Goldman & Warshaw submitted a settlement offer to Katz

  consisting of $1,000.00 plus reasonable attorneys fees and costs.

  Lalande Cert. Ex. C.      Because Katz refused this offer, Goldman &

  Warshaw claims that it is entitled to costs pursuant to Rule 68.

        Rule 68 provides that "[i]f the judgment finally obtained by

  the offeree is not more favorable than the offer, the offeree

  must pay the costs incurred after the making of the offer."            Fed.

  R. Civ. P. 68.     The plain purpose of Rule 68 is to encourage the

  settlement of litigation.       Delta Air Lines Inc. v. August, 450

  U.S. 346, 352 (1981).      "Rule 68 provides an additional inducement

  to settle cases in which there is a strong probability that the

  plaintiff will obtain a judgment but the amount of recovery is

  uncertain."    Id.   According to the plain language of the rule, it

  is confined to cases in which the plaintiff has received a

  judgment and that judgment is less favorable than the defendant's

  settlement offer.     In re Water Valley Finishing, Inc. v. Liberty

  Mutual Fire Ins. Co., 139 F.3d 325, 328 (2d Cir. 1998) (citing

  Delta Air Lines Inc., 450 U.S. at 350).         Because judgment is

  being entered for defendants, as a threshold matter, Rule 68 is

  inapplicable.     Thus, Goldman & Warshaw's request for costs


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  pursuant to Rule 68 is denied.



                                  Conclusion

          For the foregoing reasons, defendants’ motion for summary

  judgment is granted and their motion for costs pursuant to Rule

  68 is denied.     The Clerk of the Court is ordered to close the

  case.

  Dated: Brooklyn, New York
         November 29, 2006


                                            SO ORDERED:



                                                      /s/
                                            David G. Trager
                                            United States District Judge




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